  Case 2:15-cv-07158-GW-FFM Document 22 Filed 01/28/16 Page 1 of 1 Page ID #:346


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 15-7158-GW(FFMx)                                            Date     January 28, 2016
 Title             Jukin Media, Inc. v. Zoomin.TV




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                           Sheri S. Kleeger
                 Deputy Clerk                        Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      Douglas C. Emhoff                                      Neville J. Johnson
                                                                              Jennifer Y. Ro
 PROCEEDINGS:                   DEFENDANT ZOOMIN.TV'S MOTION TO DISMISS COMPLAINT
                                PURSUANT TO FED. R. CIV. P. 12(b)(2), 12(b)(5) and 12(b)(6) [12]


Settlement is not reached. The Court orders the parties to continue mediation. Defendants Zoomin.TV’s
motion is continued to March 14, 2016 at 8:30 a.m.




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                                                               Initials of Preparer   JG
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 1
